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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division                                       f   -
                                                                                                         FILED

  M.N., by and through her Parents,                                                                    FEB - 5 20IB
  MICHELLE NORMAN and
  CASSIDY NORMAN,                                                                           CLfcHK, U.S. DISTRICT COURT
                                                                                                        NQRPni k


                            Plaintiff/Counter-Defendant,

              V.                                                                    Civil Action No. 2:17cv65


  SCHOOL BOARD of the
  CITY of VIRGINIA BEACH,

                            Defendant/Counter-Plaintiff.



                                             OPINION & ORDER


           This matter is before the Court on two (2) Motions seeking review of an administrative

  decision: Plaintiff/Counter-Defendant M.N., by and through her Parents, Michelle Norman and

  Cassidy Norman's ("M.N.'s" or "Plaintiff/Counter-Defendant's") Motion for Summary

  Judgment, and Defendant/Counter-Plaintiff School Board of the City of Virginia Beach's

  ("Virginia Beach's" or "Defendant/Counter-Plaintiffs") Cross-Motion for Summary Judgment.

  Docs. 52, 54.' Because both Parties seek to modify the Hearing Officer's decision in part and to

  retain it in part, neither Motion completely defends the Hearing Officer's decision. For the

  reasons stated herein, the Court GRANTS both Motions IN PART, AFFIRMING the decision

  of the Hearing Officer and further GRANTING attorneys' fees to M.N.




   The Court issued a separate Order regarding missing pages in the administrative record. Doc. 68. The Parties have
  previously submitted a courtesy copy of the entire record, and the Court has reviewed the missing pages in the
  courtesy copy, but those pages should also have been filed electronically by now.
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                                       I.     BACKGROUND

         This case is an appeal from an administrative hearing conducted by the Virginia

  Department of Education pursuant to the Individuals with Disabilities Education Act (IDEA), 20

  U.S.C. § 1400 et seq. See generalIv Doc. 1 ("Compl."). M.N. is a special education student in

  Virginia Beach's schools. Doc. 53 at 2. In 2014-2015, her family moved to the city of Virginia

  Beach, bringing along an individualized education program ("lEP") from Fairfax County Public

  Schools. S^ Ex. B887-919 (Doc. 28 at 68-100). She has multiple issues that affect her ability

  to learn, including the following:

                  Right Hemipleeia (paralysis of the right side of the body that is a symptom
                  of an attack on the left side of the brain);
                  Cerebral Palsv (causes impaired movement and possibly chronic fatigue
                 and slow performance);
                 Neurodevelopmental disorders (including deficits in executive
                  functioning, visual figure-ground, sensory processing secondary to brain
                 hemorrhaging);
                 Visual tracking problems (causes eye movements to be slow and/or
                  inaccurate);
                 Language disorder (trouble understanding others or sharing thoughts,
                 ideas and feelings);
                 Inattentive tvpe of attention deficit hvperactivitv disorder (ADHD) (a
                 brain disorder marked by an ongoing pattern of inattention and/or
                 hyperactivity that interferes with functioning or development);
                 Developmental coordination disorder (a chronic neurological disorder that
                 can affect planning of movements and coordination as a result of brain
                 messages not being accurately transmitted to the body);
                 Learning disorder (LD) (problems that affect the brain's ability to receive,
                 process, analyze, or store information making it more difficult to learn);
                 Deficits in higher order reading comprehension (deficits in word reading
                 accuracy and/or reading comprehension);
                 Voice projection disorder or Dvsphonia (usually characterized by
                 hoarseness, vocal fatigue, raspiness, periodic loss of voice, or
                 inappropriate pitch);
                 Deficits in written expression (generally a combination of difficulties in
                 the individual's ability to compose written texts evidenced by grammatical
                 or punctuation errors within sentences, poor paragraph organization,
                 muhiple spelling errors, and/or poor handwriting skills);
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         •       Deficits in arithmetic calculation (unable to memorize many basic math
                 facts and/or exhibits weak verbal skills for monitoring the steps of
                 complex calculations);
         •       Generalized anxiety disorder (characterized by excessive, exaggerated
                 anxiety and worry about everyday life events with no obvious reasons for
                 worry);
         •       Obsessive compulsive disorder (OCD'^ (uncontrollable, reoccurring
                 thoughts 'obsessions' and behaviors 'compulsions' that create the urge to
                 repeat actions over and over); and
         •       Brain Iniurv (In case, a loss of volume on the left side of her brain that
                 increases her risk for seizures).

  Doc. 1-1 ("Hearing Officer's Decision" or "Decision") at 7-8.

         The underlying IDEA proceeding resulted from M.N.'s parents' decision to enroll her in

  Chesapeake Bay Academy ("CBA"), a private school, after determining that Virginia Beach

  failed to provide her with a free appropriate public education ("FAPE"). Id at 10-12. When

  M.N. moved to the city of Virginia Beach, Virginia Beach represented that it could implement

  the Fairfax lEP. ^     Ex. B919 (Doc. 28 at 100). In September 2014, M.N. enrolled in fifth

  grade at Red Mill Elementary School ("Red Mill") in Virginia Beach. Doc. 53 at 4; Doc. 55 at 4;

  see also, e.g.. Ex. BOOl (Doc. 22 at 2) (listing Red Mill as the school). After a meeting on

  October 1, 2014, to address parental concerns, the lEP team at Red Mill agreed on an addendum

  to the lEP.      Ex. B130 (Doc. 23 at 10). That same month, one of M.N.'s teachers, Julie

  Harrison ("Mrs. Harrison"), was placed on a Performance Improvement Plan. S^ Ex. 23.061-

  062 (Doc. 31 at 61-62). Virginia Beach subsequently removed her from her teaching position in

  December 2014. Decision at 15; see also, e.g.. Ex. 41.012 n.2 (Doc. 40 at 25).

         Throughout 2014-2015, M.N.'s lEP team met several times to craft an lEP for PAMS but

  was unsuccessflil in agreeing on a new lEP. These meetings occurred on December 8, 2014, and

  several dates in 2015: January 22, February 5, March 23, March 30, April 2, and June 17, 2015.

  See Ex. B031 (Doc. 22 at 32); Ex. A031 (Doc. 21 at 36). During this time, M.N.'s parents also
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  paid for tutoring and social skills classes to supplement M.N.'s education at Red Mill.       Ex.

  B309-21 (Doc. 24 at 92-98; Doc. 25 at 1-6). On August 10, 2015, M.N.'s parents timely

  noticed Virginia Beach of their intent to unilaterally place M.N. at CBA, a private school, should

  Virginia Beach not agree to private day placement. Ex. 41.005-006 (Doc. 40 at 18-19). On

  August 25, 2015, Virginia Beach rejected the parents' request for private day placement. Ex.

  B057-58 (Doc. 22 at 58-59).

         During 2015-2016, Virginia Beach and M.N.'s parents agreed on multiple evaluations of

  M.N. in support of ongoing lEP discussion, but they were still unable to reach agreement on a

  new lEP despite numerous additional meetings. Agreed evaluation topics included occupational

  therapy, physical therapy, sociocultural evaluation, and updated medical, educational, and

  observational reports. Ex. B186 (Doc. 23 at 65). The parents also paid for multiple independent

  evaluations in those categories in addition to the school's evaluations. See, e.g.. Ex. C172-204,

  C217-229 (Doc. 36 at 1-33, 46-58). After all of those evaluations and additional IE? meetings,

  the last proposed IE? for this school year was the one that Virginia Beach dated June 9, 2016,

  and offered to M.N.'s parents on June 23, 2016. Trial Tr. (Doc. 42) (hereinafter "Tr.") at 5:19-

  23.


         On July 11, 2016, M.N.'s parents filed a due process complaint pursuant to the IDEA

  with the Virginia Department of Education.         Decision at 2.     The Virginia Department of

  Education appointed a Hearing Officer, who heard the case on September 12-14, 2016. Id The

  Parties presented four (4) issues to the administrative hearing officer:

         Whether or not the local education agency (LEA) has properly implemented an
         individual educational program (lEP) for the student.
         Whether or not the LEA is providing the student with a free appropriate public
         education (FAPE).
         Whether or not the LEA provided sufficient educational evaluations to formulate
         an appropriate lEP within a reasonable time.
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           Whether or not private day placement is required for the student to receive a
           FAPE.


  Id. at 12. The Hearing Officer entered her decision in the matter on October 30, 2016. Id at 30.

  She made four (4) key findings: that Virginia Beach had not properly implemented an lEP for

  M.N., that Virginia Beach failed to offer FAPE to M.N., that Virginia Beach provided sufficient

  evaluations to form an IE? within a reasonable time, and that private day placement was required

  for 2015-2016 and for 2016-2017. See generally id She ordered reimbursement for two (2)

  years of private day placement, denied reimbursement for tutoring, and deferred any decision on

  attorneys' fees to a reviewing court on the ground that she lacked statutory authority to grant

  such an award. See id. at 29-30.


           On January 27, 2017, M.N, timely filed a complaint with this Court seeking an award of

  attorneys' fees for prevailing in an IDEA due process hearing. Doc. 1. On January 30, 2017,

  Virginia Beach filed a separate action seeking reversal of the Hearing Officer's decisions in

  favor of M.N. No. 2:17cv66, Doc. 1 ("VB Counterclaim"). On May 22, 2017, M.N. filed an

  Amended Complaint in this action with leave of Court. Doc. 11. M.N. filed a counterclaim in

  the companion action seeking the tutoring and social skills fees denied by the Hearing Officer.

  No. 2:17cv66, Doc. 8.

           The Court entered a combined scheduling Order for both actions on June 16, 2017,

  directing the Parties to file cross-motions for summary judgment on the administrative record.



  ^The Fourth Circuit has on occasion expressed some concern that IDEA civil actions are not appeals and that the
  motions in such actions are not properly captioned as summary judgment motions. See, e.g.. Ctv. Sch. Bd. of
  Henrico Ctv.. Virginia v. Z.P. ex rel. R.P.. 399 F.3d 298, 309 (4th Cir. 2005). It has inconsistently expressed this
  view, though, at times affirming the practice while noting IDEA specific rules. See, e.g.. Schaffer ex rel. Schaffer v.
  Weast. 554 F.3d 470,479 (4th Cir. 2009); A.B. ex rel. D.B. v. Lawson. 354 F.3d 315, 324-25 (4th Cir. 2004). It has
  yet to resolve this inconsistency, as some panels have observed in commenting on the relevant standard of review.
  See O.S. V. Fairfax Ctv. Sch. Bd.. 804 F.3d 354, 360 n.2 (4th Cir. 2015). Because this Court must generally give a
  type of deference to the factual findings of the underlying administrative decision, subject to a limited exception,
  these proceedings are very similar to administrative appeals, even if they are not exactly the same. Thus, this
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  with the briefing on both motions complete by November 10, 2017. Doc. 10. The Parties filed

  the administrative record on July 28, 2017. Docs. 21-42. The Court FOUND that the second

  action was a compulsory counterclaim to the first action and consolidated the cases on August

  21, 2017. Doc. 46. The Parties supplemented the record with leave of Court on August 28,

  2017. Docs. 48-49. The Parties timely completed briefing for the cross-motions for summary

  judgment, and no Party requested an opportunity to present additional evidence.

                                       11.      LEGAL STANDARD


          The IDEA offers federal funding to states in exchange for their agreement to educate

  disabled students in accordance with certain statutory criteria. See 20 U.S.C. § 1411. One of

  those criteria is that the state provide a "free appropriate public education" ("FAPE") to all

  disabled students residing in the state. S^ id § 1412(a)(1). The statute defines FAPE as

  follows:


          special education and related services that—
          (A) have been provided at public expense, under public supervision and direction,
          and without charge;
          (B) meet the standards of the State educational agency;
          (C) include an appropriate preschool, elementary school, or secondary school
          education in the State involved; and
          (D) are provided in conformity with the individualized education program
          required under section 1414(d) of this title.

  Id. § 1401(9). The chapter further states that "[t]he term 'individualized education program' or

  'lEP' means a written statement for each child with a disability that is developed, reviewed, and

  revised in accordance with this section and that includes" several categories of information. Id

  § 1414(a)(5)(l)(A). While it contains a lengthy list of requirements, it generally provides that

  "[a]n appropriate lEP must contain statements concerning a disabled child's level of functioning,

  set forth measurable annual achievement goals, describe the services to be provided, and

  District has generally labelled the motions as ones for summaryjudgment while acknowledgingthe applicable IDEA
  standards of review in the absence of any definitive guidance to the contrary from the Fourth Circuit.
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  establish objective criteria for evaluating the child's progress." MM ex rel. DM v. Sch. Dist. of

  Greenville Ctv.. 303 F.3d 523, 527 (4th Cir. 2002) (citing 20 U.S.C. § 1414(d)(1)(A) (2017)).

         The IDEA further provides that any party may present a due process complaint to the

  appropriate state or local education agency "with respect to any matter relating to the

  identification, evaluation, or educational placement of the child, or the provision of a free

  appropriate public education to such child" and "have an opportunity for an impartial due

  process hearing      " Id. § 1415(b)(6), (f)(1). Parties aggrieved by the findings and decision

  who does not have a further right of appeal may file a civil action in federal court regarding the

  due process complaint. IdL § 1415(i)(2).

         When reviewing IDEA administrative proceedings, a court applies "modified de novo

  review, giving due weight to the underlying administrative proceedings." O.S., 804 F.3d at 360

  (quoting M.S. ex rel. Simchick v. Fairfax Ctv. Sch. Bd.. 553 F.3d 315, 323 (4th Cir. 2009))

  (internal quotation marks omitted). Due weight in this context means that "findings of fact made

  in administrative proceedings are considered to be prima facie correct, and if a reviewing court

  fails to adhere to them, it is obliged to explain why." MM, 303 F.3d at 531 (citing Dovle v.

  Arlington Countv Sch. Bd.. 953 F.2d 100, 103 (4th Cir. 1991)). Credibility determinations, both

  explicit and implicit, are part of the findings that a reviewing court must afford due weight. Z.P.,

  399 F.3d at 306-07. Deference does not apply if the findings are not "regularly made." Id. at

  305 (citing Dovle. 953 F.2d at 105). "Factual findings are not 'regularly made' if they are

  reached through a process that is 'far from the accepted norm of a fact-finding process.'" Id.

  (quoting Dovle. 953 F.2d at 104); see also J.P. ex rel. Peterson v. Ctv. Sch. Bd. of Hanover Ctv..

  Va.. 516 F.3d 254, 259 (4th Cir. 2008) (describing a hearing officer's findings as regularly made

  when "allowing the parents and the School Board to present evidence and make arguments.
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  and ... by all indications resolv[ing] the factual questions in the normal way, without flipping a

  coin, throwing a dart, or otherwise abdicating his responsibility to decide the case.") The party

  challenging the hearing officer's decision bears the burden of proof. A.K. ex rel. J.K. v.

  Alexandria City Sch. Bd.. 484 F.3d 672, 679 (4th Cir. 2007) (citing Spielberg ex rel. Spielberg v.

  Henrico County Pub. Sch.. 853 F.2d 256, 258 n.2 (4th Cir. 1988)).

                                                III.     ANALYSIS


           The primary issue in this case is whether M.N.'s parents properly removed her from

  Virginia Beach public schools to a private school. "When a state receiving IDEA funding fails

  to provide a FAPE, the child's parent may remove the child to a private school and then seek

  tuition reimbursement from the state." A.K.. 484 F.Sd at 679 (quoting A.B.. 354 F.3d at 320).

  "The parent may recover if (1) the proposed lEP was inadequate to offer the child a FAPE and

  (2) the private education services obtained by the parents were appropriate to the child's needs."

  Id. (quoting same).

           The underlying issue in this case is that the Parties disagree about whether to trust

  Virginia Beach's staff, and they engage in many different arguments that are proxy fights about

  that issue.^ These arguments began when Virginia Beach failed to provide M.N. a FAPE in
  2014-2015, as explained infra. It did not admit that failure, and it crafted lEPs in the belief that

  its staff at another school would remedy any deficiencies going forward. The parents do not trust

  Virginia Beach and want a detailed lEP to fix implementation problems. While the Court does

  not pass judgment on whether Virginia Beach could ever provide a FAPE, the Court agrees with

  the Hearing Officer that Virginia Beach at least failed to offer FAPE in its last proposed lEPs for


  ^ For example, one frequent fight in the records is over whether M.N. needs social skills goals. Virginia Beach
  insists that their social skills lunchtime program at PAMS is enough and that no literal goals are needed, while
  M.N.'s parents repeatedly insist that explicit written goals are needed. Neither Party appears to have a good reason
  why the other Party's idea is unacceptable beyond their respective positions on trusting Virginia Beach's staff.
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  2015-2016 and 2016-2017 by promoting M.N. too quickly and by offering insufficient detail,

  respectively, as explained in further detail infra.

           Virginia Beach challenges the Hearing Officer's decision on two (2) grounds: that the

  Hearing Officer failed to give due deference to professional educators, and that several of the

  Hearing Officer's findings are not supported by the evidence.                      VB Counterclaim           51-56.

  In its Motion for Summary Judgment, Virginia Beach expands the first ground for relief to

  encompass five (5) different reasons why the Hearing Officer's findings failed to comport with

  legal standards and are not entitled to deference, and it reduces the second ground to dispute two

  (2) specific findings: that the 2014-2015 "stay-put" was not properly implemented, and that the

  last proposed lEP did not offer M.N. a FAPE. See generally Doc. 55. The incongruity between

  the two (2) documents leaves Virginia Beach's arguments open to some interpretation. For

  example, Virginia Beach's Coimterclaim challenges the finding that CBA could provide M.N. a

  FAPE, but its Motion for Summary Judgment only challenges the legal standard applied to that

  finding and never challenges the finding itself Compare VB Counterclaim                             56(r), (t) with

  Doc. 55 at 24. Thus, the Court attempts to organize and address Virginia Beach's actual

  challenges as best as is cognizable based on the briefing."*
  A.       Whether the Hearing Officer's Findings Are Entitled to Deference

           Virginia Beach misunderstands this Circuit's law on deference in IDEA proceedings, and

  that mistake undermines its arguments. As explained supra, a hearing officer's findings are

  entitled to deference when "regularly made." S^ supra Part II. Instead of citing that body of

    M.N. seems to recognize the incongruence between the two (2) documents as well, observing that Virginia Beach's
  Motion "raise[s] new claims that were not a part of the original appeal of the Special Education Due Process
  Hearing Officer's decision." Doc. 59 at 10. In all fairness to Virginia Beach, many of its "new" arguments are not
  truly new claims, as they merely affect the level of deference this Court applies in considering the Hearing Officer's
  factual findings. See, e.g.. Doc. 55 at 16-17, 19-20 (contesting the Hearing Officer's methodology for assessing
  FAPE); see also VB Counterclaim ^ 56(n), (p), (s), (t) (contesting whether VB offered a FAPE more broadly). M.N.
  attempts to address the arguments raised m total between the two (2) incongruent documents notwithstanding her
  objection, and thus, the Court has full briefing before it on all relevant issues.
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   case law, Virginia Beach cites A.K., 484 F.3d at 679-80 (citing Z.P.. 399 F.3d at 309) for the

   proposition that "[a] hearing officer's finding regarding the sufficiency of an IE? Ms not entitled

   to deference to the extent that it is based upon application of an incorrect legal standard.'" Doc.

   55 at 15 (quoting A.K.. 484 F.3d at 679-80). That selective quoting of A.K. led Virginia Beach

   to an incorrect reading of the case law. A.K. stands for the proposition that a district court's

   finding is not entitled to deference from appellate courts when based on the incorrect legal

   standard.      A.K.. 494 F.3d at 679-80 (discussing the standard of review for a district court's

   order). This distinction matters because the Fourth Circuit applies a different standard of review

   to a Hearing Officer's decision than it applies to a District Court's opinion.    J.P.. 516 F.3d at

   262. For example, the Fourth Circuit requires detailed analysis from a District Court while

   allowing "bare-boned" findings from a Hearing Officer to suffice. Id, If a Hearing Officer fails

   to apply the correct legal standard, and that failure leaves the record devoid of any findings that

   would allow a reviewing court to reach a conclusion on the correct legal standard, then the

   Fourth Circuit requires remand to the Hearing Officer, not simply assessment without deference.

   JH. 326 F.3d at 568; see also J.P.. 516 F.3d at 262 n.3 (elaborating on the Fourth Circuit's

   understanding of the requirements for remand). Because Virginia Beach's arguments do not

   meaningfully contest whether the Hearing Officer's findings were regularly made, this Court

   must give the Hearing Officer's findings due weight deference. The only question for the Court

   to address in this section is whether any of Virginia Beach's criticisms of the Hearing Officer's

   decision demonstrate flaws requiring remand.

                          i.     Separate Consideration ofEach School Year

          Two (2) of Virginia Beach's arguments address essentially the same issue: whether the

   Hearing Officer separately considered 2014-2015, 2015-2016, and 2016-2017.              Doc. 55 at




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   16-17, 19-20. "[T]he finding of an invalid lEP for a particular school year is a necessary

   precursor to reimbursement for a parental placement." M.S.. 553 F.3d at 324.

          Virginia Beach rightly criticizes deficiencies in the Hearing Officer's decision. The

   Hearing Officer began with the accurate statement that the last proposed lEP was the IE? offered

   on June 23, 2016, as corrected on July 7, 2016. Decision at 12. She then stated that the last

   detailed statement of disagreement occurred on May 17, 2015, but cited to a different statement

   from March 2015.         id at 11 (citing Ex. 12.001); see also Ex. 12.001 (Doc. 30 at 1) (the

   statement from March 2015 listing concerns with the draft lEP); Ex. B734 (Doc. 27 at 6) (the

   statement of disagreement from May 17, 2015). She also described the March 2015 statement as

   a twenty (20) page commentary on the last proposed lEP, which was incorrect for two (2)

   reasons: the exhibit encompassed two (2) different statements, and both of them predated the last

   proposed lEP by over a year. S^ Decision at 17; see also Ex. 12.001-020 (Doc. 30 at 1-20).

   She then made her findings regarding the "last proposed lEP" without any dates or citations,

   leaving an open question of whether she understood that the cited statements did not apply to the

   last proposed lEP. Decision at 20. She also considered implementation of the stav-put lEP as

   part of determining the sufficiency of the last proposed lEP. which was not proper at all. S^ id

   (offering that errant analysis); see also M.S., 553 F.3d at 324 (requiring that lEP findings be

   particularized by school year).     The Hearing Officer's decision is a bit confusing in its

   description of important terms and thus requires some interpretation.

          Although these deficiencies are concerning, they do not amount to errors requiring

   remand. The harsh reading by Virginia Beach is that the Hearing Officer failed to consider any

   draft lEPs except the ones criticized in Ex. 12.001-020, while the charitable reading by M.N. is

   that the Hearing Officer found that the same violations afflicted the January 2015 lEP and all




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   subsequent ones. A hearing officer cannot fail to consider each year's lEPs, but a hearing officer

   may criticize all of them with the same violations. See, e.g.. M.S.. 553 F.3d at 323 (observing,

   without comment, that a hearing officer found three (3) lEPs invalid for the same reasons). The

   only limit is that a hearing officer must review each lEP based on evidence that arose before the

   creation of that lEP. S^ Schaffer. 554 F.3d at 477 (emphasizing that review of an lEP is

   prospective, not retrospective). In view of that standard, M.N.'s reading is the more accurate

   interpretation of the decision in this case. The Hearing Officer at one point referred to all of the

   draft lEPs cumulatively:

          The lEPs proposed by VBCPS dropped eight goals and sixteen accommodations
          that the parents' contend [M.N.] continued to need. (Tr. pg. 405) As previously
          mentioned, the lEP moved occupational therapy and physical therapy from the
          services category to accommodations. (Tr, pg. 396) When confi-onted, VBCPS
          justified the OT and PT changes by claiming that is the way it is routinely done in
          VBCPS.


   Decision at 18-19. She also concluded that the lEP team failed to propose goals that would

   remedy M.N.'s below grade level performance:

          If a child, such as [M.N.,] is performing below grade level, that child needs to
          receive specialized instruction. It is the responsibility of the lEP team to develop
          annual goals to close the gap. This did not occur.

   Decision at 20. She then offered explicit findings on the "last proposed lEP" to determine

   whether Virginia Beach offered FAPE. Id at 20, 27. It seems that she intended her criticisms of

   the last proposed lEP to be criticisms of all draft lEPs up to and including the last proposed one.

   Because that apparent approach is an appropriate approach, any errors under this topic are not

   severe enough to deprive this Court of reviewable findings.

                                     a.      Procedural Violations


          Virginia Beach's next challenge concerns whether the Hearing Officer improperly relied

   on procedural violations for finding a denial of FAPE.        Doc. 55 at 17-19.      "[A]n alleged



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   procedural violation of the IDEA, without more, is insufficient to show a school failed to provide

   a child with FAPE." Bobbv v. Sch. Bd. of City of Norfolk. No. 2:13cv714, 2014 WL 3101927,

   at *8 (E.D. Va. July 7, 2014). "Rather, when procedural violations are alleged, they 'must

   actually interfere with the provision of a FAPE to that child.'" Id (quoting DiBuo ex rel. DiBuo

   V. Bd. of Educ. of Worcester Cntv.. 309 F.3d 184, 190 (4th Cir. 2002)). The Hearing Officer's

   findings at issue stated as follows:

          I FIND that the VBCPS' last proposed lEP failed to meet [M.N.'s] complex
          academic and functional needs by rejecting parental concerns, minimizing the
          severity of [M.N.'s] disabilities, providing only cursory review of the results of
          independent evaluations; and by failing to include agreed-upon revisions to the
           lEP drafts.


   Decision at 20. Virginia Beach argues that some of these findings are not even procedural

   violations, as it is not required to adopt all of the parents' suggestions. Doc. 55 at 18-19. It

   further insists that to the extent it committed any procedural violations, none led to the denial of

   FAPE in the substance of the lEPs for 2015-2016 and for 2016-2017. Id

          Virginia Beach has not raised enough of a flaw to require remand. It is true that

   "rejecting parental concerns," "providing only cursory review of the results of independent

   evaluations," and "failing to include agreed-upon revisions to the lEP drafts" are procedural

   errors, and the Hearing Officer does not offer any analysis as to why those violations led to

   denial of FAPE here. It is less clear that "minimizing the severity of [M.N.'s] disabilities" is

   procedural, as an lEP that provides services for a lower level of disability would fail to provide

   FAPE. Virginia Beach offers no analysis directed at that particular finding, instead taking the

   view that all of the Hearing Officer's findings implemented a parental veto.        Doc. 55 at 18.

   This argument is analogous to the previous one because Virginia Beach takes a dim view of the

   Hearing Officer's decision, believing that she favored the parents and did not understand the




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   substance at issue.       id Because the Court beHeves that the better reading of the Hearing

   Officer's decision is that she criticized all of the draft lEPs' failure to address M.N.'s needs, the

   Court further FINDS that "minimizing the severity of [M.N.'s] disabilities" is a substantive

   criticism similar to other findings in the decision. Thus, any errors under this topic are not

   severe enough to deprive this Court of reviewable findings.

                                     Hi.     Deference to Educators

          Virginia Beach contends that the Hearing Officer failed to give the required deference to

   professional educators in her findings. The Supreme Court has repeatedly cautioned that courts

   should not "substitute their own notions of sound educational policy for those of the school

   authorities which they review." Endrew F. ex rel. Joseph F. v. Douglas Ctv. Sch. Dist. RE-1.

   137 S. Ct. 988, 1001 (2017); Bd. of Bduc. of Hendrick Hudson Cent. Sch. Dist.. Westchester

   Ctv. V. Rowley. 458 U.S. 176, 206 (1982). The Fourth Circuit has extended this deference to the

   administrative proceedings. Z.P.. 399 F.3d at 307 ("We recognize, of course, that at all levels of

   an IDEA proceeding, the opinions of the professional educators are entitled to respect."). This

   deference does not mean that a hearing officer must decide all factual disputes in favor of the

   school. ^    id For example, in Z.P.. the Fourth Circuit explained that the hearing officer was

   obligated to accept the educators' testimony regarding the effectiveness of their own program but

   was n^ obligated to accept testimony regarding the propriety of their program for the particular

   student at issue. S^ id. at 308. It observed that "[t]o conclude that the hearing officer erred

   simply because he did not accept the testimony of the School Board's witnesses, an argument

   that the School Board comes very close to making, would render meaningless the due process

   rights guaranteed to parents by the IDEA." Id. at 307 (citing School Bd. v. Malone. 762 F.2d

   1210, 1217 (4th Cir. 1985)).




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            Virginia Beach raises three (3) issues that it believes demonstrate no deference. Doc. 55

   at 20-23. First, it argues that the Hearing Officer improperly credited the testimony of the

   parents alone over the testimony of special education case manager Nikki Moore ("Ms. Moore")

   in assessing the adequacy of goals and accommodations in draft lEPs. Id at 21-22. Second, it

   contends that the Hearing Officer failed to address the credibility of all of the relevant school

   witnesses when deciding whether M.N. needed smaller class size or a private school placement.

   Id. at 22-23. Third, it criticizes the findings about whether M.N. could be heard at PAMS as

   substituting the Hearing Officer's own observations for the testimony of the school officials. Id.

   at 23.


            This Court's deference to the Hearing Officer's credibility determinations undermines

   Virginia Beach's arguments here. As M.N. recognizes, this Court must defer both to explicit and

   implicit credibility determinations.          id at 17 (quoting Z.P.. 399 F.3d at 307). Virginia Beach

   does not offer any reasonable basis for the Court to reverse those determinations.

            For the issue of goals and accommodations, the Parties are reprising their familiar

   arguments of whether the Hearing Officer considered the substance of the lEPs. M.N.'s expert

   witnesses criticized the adequacy of the goals and accommodations. See, e.g.. Tr. at 63:2-9;

   80:3-18. The Hearing Officer's decision does not explicitly rely on the parents' testimony alone,

   and her findings on the adequacy of goals and accommodations implicitly credit the testimony of

   M.N.'s experts.     Once the Hearing Officer found that special education case manager Nikki

   Moore ("Ms. Moore") was not credible, she also implicitly found that other school officials on

   the lEP team lost credibility on goals and accommodations because they relied on Ms. Moore's

   data.^ Her commentary on Dr. Joey Phillips ("Dr. Phillips"), assistant principal at PAMS,


   ^The fall semester data was actually from Mrs. Harrison, while the spring semester data was from Ms. Moore. Tr.
   at 354:4-7. In light of Mrs. Harrison's performance improvement plan and subsequent firing, the Hearing Officer


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   supports this reading because she only discredits him due to his reliance on that data.

   Decision at 26.         Thus, the Hearing Officer's finding regarding Ms. Moore's credibility

   undermines Virginia Beach's arguments here.

             For the issue of smaller class sizes, the Hearing Officer was not required to make explicit

   credibility determinations on every witness because her implicit determinations hold the same

   weight here.          Z.P.. 399 F.3d at 307. Virginia Beach does not address that legal standard, and

   thus, its argument here fails.

             For the issue of hearing M.N. in a classroom, the Hearing Officer relies on three (3)

   different sources of evidence: the documented lack of volume and projection in M.N.'s voice,

   her personal observations, and the testimony of Ms. Judy Jankowski ("Ms. Jankowski"), the

   educational administrator at CBA, who testified that CBA had to implement a rule that everyone

   is silent when M.N. speaks in order to hear her.                    Decision at 26. Virginia Beach cites no

   authority for why the Hearing Officer cannot use her own observations to make credibility

   determinations, and it is not at all clear that deciding how audible M.N. is in a classroom

   amounts to imposing her own educational policy on Virginia Beach. The Court need not decide

   that issue, though, because that was not the sole basis for the Hearing Officer's decision.^ Thus,
   any errors under this topic are not severe enough to deprive this Court of reviewable findings.

                                       /V.      Analysis ofPrivate Placement

             Virginia Beach contends that the Hearing Officer engaged in an impermissible compare-

   and-contrast analysis to determine whether CBA was an appropriate placement. Doc. 55 at 24.



   explicitly offered a dim view of Mrs. Harrison's abilities and implicitly offered a dim view of her data, too. Virginia
   Beach makes no attempt to defend Mrs. Harrison's data, likely recognizing this problem.
   ®Furthermore, it is not at all clear whether Virginia Beach's witnesses receive any net deference when the
   contrasting witness testimony (Ms. Jankowski) is also from an educator. Virginia Beach disregards the Hearing
   Officer's reference to Ms. Jankowski's testimony and does not argue this issue, and the Court need not reach it,
   either.



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   Virginia Beach's authority in support of that argument does not extend as far as it represents,

   though. It is correct that parents cannot demonstrate that a proposed placement fails to provide

   FAPE through evidence of a better program because "the [IDEA] does not require the

   'furnishing of every special service necessary to maximize each handicapped child's potential.'"

   MM, 303 F.3d at 527 (quoting Hartmann v. Loudoun Countv Bd. of Educ.. 118 F.3d 996, 1001

   (4th Cir. 1997) (quoting Rowlev. 458 U.S. at 199-200)); see also Hessler bv Britt v. State Bd. of

   Educ. of Maryland. 700 F.2d 134, 139 (4th Cir. 1983) ("In sum, because a given educational

   placement is allegedly more appropriate than another, it does not follow that the less appropriate

   program is not 'appropriate' within the meaning of the Act.") Nevertheless, it does not follow

   from that proposition that compare-and-contrast is always impermissible. The primary case cited

   by Virginia Beach merely bans compare-and-contrast in a case where (1) it is undisputed that the

   public school cannot provide FAPE, and the parties are disputing between private school

   placements; and (2) the Hearing Officer performed no substantive analysis otherwise. S^ Sch.

   Bd. of the City of Suffolk v. Rose. 133 F. Supp. 3d 803, 827 (E.D. Va. 2015). That case does not

   purport to establish any rule regarding compare-and-contrast analysis, instead only observing

   that a Hearing Officer cannot substitute that analysis for the required analysis. S^ id

          The Hearing Officer's decision satisfied the correct legal standard.         She primarily

   assessed whether CBA offers FAPE based on M.N.'s actual performance. Decision at 27.

   Actual performance is a relevant factor, but not the only factor, in determining whether a

   placement offers FAPE.      S^ M.S.. 553 F.3d at 326-27. The Hearing Officer also applied

   several other factors to support her decision:

          CBA can provide the services that [M.N.] requires. They provide [M.N.] with the
          flexibility to rearrange her scheduling and programs as she progresses. She is able
          to be heard and her social skills are improving. Through the direct services
          provided at CBA, [M.N.'s] full array of disabilities are addressed. The small



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          classroom and small school size provide her the individualized attention she
          requires to receive educational benefit.

   Decision at 27. Her recitation of facts on the pages prior to these findings does not alter the

   conclusion that these findings show independent analysis of CBA, even if the prior facts

   compare CBA with PAMS. Thus, any errors under this topic are not severe enough to deprive

   this Court of reviewable findings.

          Despite the lack of any errors requiring remand here, a certain related error deserves

   noting at this stage. Virginia Beach's brief quotes the related error:

          Here, the Hearing Officer engaged in this very "compare and contrast" analysis
          that courts caution against. The Hearing Officer expressly found that:
                  [T]he educational benefits available to [M.N.] in a traditional, inclusive or
                  special education classroom at Princess Anne Middle School, even if
                  supplemented with appropriate aids and services, in comparison to the
                  educational benefits she will receive from CBA, are negligible.

   Doc. 55 at 24 (quoting Decision at 27 (emphasis added)). Virginia Beach tries to use the

   analysis regarding PAMS to impugn the analysis regarding CBA. See id An error regarding

   PAMS does not compel any result regarding the Hearing Officer's decision. If the draft lEPs

   denied FAPE, and CBA provided FAPE, then this Court need not decide whether PAMS could

   offer FAPE apart from the content of the draft lEPs. S^ A.K.. 484 F.3d at 679 (noting that

   reimbursement for private placement relies on assessment of the lEP and of the adequacy of the

   private placement). Thus, the Court FINDS that the Hearing Officer erred in assessing PAMS

   through compare-and-contrast, but the Court need not take any other action on the issue because

   no finding on PAMS is necessary to the disposition of this case.

   B.     Whether the Hearing Officer's Findings Were Accurate

          After all of those procedural disputes, the Court can reach the merits of the case. This

   Order addresses the following issues in turn: the problems in 2014-2015, the two (2) school




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   years at issue in this case, whether CBA offered FAPE, and whether M.N. is entitled to tutoring

   fees reimbursement.


    /.     Implementation ofthe lEPfor 2014-2015 and Whether Virginia Beach Provided FAPE

           Virginia Beach challenges the Hearing Officer's finding that it failed to properly

   implement the IE? for 2014-2015 such that it denied M.N. a FAPE, arguing that the finding was

   based solely on parent testimony. Doc. 55 at 25. Failure to implement a material portion of an

   lEP violates the IDEA, but failure to perfectly execute an lEP does not amount to denial of

   FAPE.       Sumter Ctv. Sch. Dist. 17 v. Heffeman ex rel. TH. 642 F.3d 478, 484 (4th Cir. 2011)

   (citing agreement with the Fifth, Eighth, and Ninth Circuits).

           Virginia Beach undermines its argument by selectively quoting the findings in the

   Hearing Officer's decision. The Hearing Officer's decision relied on four (4) facts. Decision at

   14-15. First, she cited Mrs. Norman's testimony. Id at 14. Second, she cited an admission

   from school officials at an lEP meeting that they failed to implement portions of the lEP. Id

   Third, she cited M.N.'s regression evidenced by test results. Id Finally, she cited the fact that

   M.N.'s fall 2014 teacher was placed on a performance improvement plan when she "failed to

   collect and effectively analyze data to meet the diverse needs of her special education students

   which has led to ineffectiveplanning and instructional delivery" and was later removed from her

   position. Id at 14-15 (quoting Exs. 23.061-062 (Doc. 31 at 61-62)). Contrary to Virginia

   Beach's argument, the Hearing Officer did not rely solely on parent testimony but instead relied

   on a combination of Mrs. Norman's testimony with several other pieces of evidence to reach a

   conclusion regarding implementation of the lEP in 2014-2015. Thus, the Court FINDS that

   Virginia Beach failed to implement the 2014-2015 lEP.




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           The Fourth Circuit has no bright line for what constitutes a material failure to implement

   an lEP. Sumter Ctv. Sch. Dist. 17. 642 F.3d at 486. Despite the lack of a bright line, failure to

   consistently implement half the accommodations in an lEP is a material failure because it defeats

   the purpose of the lEP. "Congress did not intend that a school system could discharge its

   duty ... by providing a program that produces some minimal academic advancement, no matter

   how trivial." Id (quoting Hall ex rel. Hall v. Vance Cnty. Bd. of Educ., 774 F.2d 629, 636 (4th

   Cir. 1985)). Thus, the Court FINDS that Virginia Beach materially failed to implement the

   2014-2015 IE? such that it denied FAPE to M.N because its ineffective teacher failed to

   implement half the accommodations in the lEP, harming M.N.'s academic progress throughout

   that entire school year.

             //.     Whether Virginia Beach Offered FAPE in 2015-2016 and 2016-2017

   a.     2015-2016


          While the Hearing Officer's findings regarding the proposed lEPs are rather sparse, the

   Hearing Officer's credibility determination regarding Ms. Moore supports her findings.

   Decision at 25. Virginia Beach's last proposed lEP for 2015-2016 based all three (3) of its key

   decisions — rejecting private day placement, rejecting retention for fifth grade, and rejecting a

   more restrictive environment for education — on Ms. Moore's data.            Ex. B057 (Doc 22 at

   58) (citing that all three (3) decisions were based on the available data). The Hearing Officer did

   not believe Ms. Moore's data, agreed with CBA's assessment that the data reflected a need for

   retention in fifth grade, and further repeatedly expressed that M.N. currently needs a more

   restrictive environment. See, e.g.. Decision at 24 (citing Hartmann. 118 F.3d 996, 26 IDELR

   167 (4th Cir. 1997)).




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           Virginia Beach's disagreement with the decision is not unreasonable. The IDEA strongly

   encourages placing students in the LRE.               ^   20 U.S.C. § 1412(a)(5) (2018).         This

   encouragement is not an unbreakable requirement, though, because the purpose of LRE is to

   ensure that schools seek integration of special education students with the rest of the school, not

   to harm the academic progress of special education students.         M.S.. 553 F.3d at 327; see also

   20 U.S.C. § 1412(a)(5)(A) (2018) ("To the maximum extent appropriate                    ").   Virginia

   Beach's proposal for 2015-2016 may have been appropriate if M.N. had not experienced trouble

   with an ineffective teacher in fall 2014, but that trouble harmed her to a greater degree than was

   remediable with a regular LRE proposal.

           Virginia Beach apparently read the last proposed lEPs in a better light than the Hearing

   Officer read them because it trusted in the ability of its staff to remedy M.N.'s problems during

   2015-2016. The Court cannot assess Virginia Beach's proposal in that light, though, because it

   is restricted to considering the explicit terms of the lEP. A.K.. 484 F.3d at 682. The Court

   FOUND that Virginia Beach failed to provide a FAPE to M.N. in fifth grade in 2014-2015. See

   supra Part IILB.i. In line with that finding, the Court further FINDS that Virginia Beach failed

   to offer M.N. a FAPE for 2015-2016 because it sought to place her in an academic program

   beyond her abilities — namely, sixth grade. The Court need not reach any of the other potential

   difficulties with the lEP in light of that finding, nor can it address the capabilities of PAMS staff,

   b.     2016-2017


          For the 2016-2017 last proposed lEP, the Hearing Officer's credibility determinations

   regarding some of M.N.'s witnesses support her finding that Virginia Beach failed to offer

   FAPE. Two (2) particular portions of her opinion are relevant. The first portion summarized the

   experts' testimony:




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          Drs. Ling (Tr. pg. 15) Cotton (Tr. pg. 239) and Lucker (Tr. pg. 172) summarily
          testified that [M.N.] is more suited to learn in a small environment due to the way
          in which her many disabilities and medical conditions interact with one another.
          At this stage in her life, requires constant individualized instruction to keep
          focused and to learn. Dr. Ling, a neurologist who tested in September of 2015,
          testified that experiences disorganization, processing weaknesses and difficulties
          with physical stamina. (Jt. Ex. C172-197)

   Decision at 25. The second portion credits the testimony of Dr. William D. Ling ("Dr. Ling"), a

   licensed clinical psychologist, and Dr. Jay Lucker ("Dr. Lucker"), an audiologist:

          Testimony from [M.N.'s] doctors, including the evaluations from Dr. Ling and
          Dr. Lucker, clearly indicate that [M.N.] needs continuous specialized and
          individual attention in a smaller environment to receive educational benefit.
          Princess Anne Middle School with its 1,470 student population would not
          educationally benefit [M.N.] regardless of how well-intended VBCPS may be. In
          her case, with her multiple neurological, mental, processing, cognitive and
          physical disabilities, at this stage in her life, [M.N.] requires the small school
          environment offered at CBA to effectively learn both academically and socially.
          CBA, however, is admonished to educate [M.N.] towards independence with the
          ultimate goal of returning her to public school. With no medical or cognitive
          setbacks, [M.N.] should be more mature and more prepared to handle the rigors of
          public school life after leaving CBA. Hopefully, via the educational benefits and
          the FAPE she receives from CBA, [M.N.] will learn how best to deal with her
          multiple disabilities and will have educationally and socially progressed and
          matured enough to attend a VBCPS public school.

   Id at 28. The Hearing Officer did not distinguish between the proposed lEPs and the school

   years with this criticism, and this criticism was inappropriate for 2015-2016 because Dr. Ling's

   and Dr. Lucker's reports were not available to Virginia Beach until October 2015 and August

   2016, respectively. S^ Ex. C172 (Doc. 36 at 1); Ex. 15.001 (Doc. 30 at 33). A hearing officer

   and a court must assess the adequacy of an lEP based on the information available at the time it

   was written. S^ Schaffer. 554 F.3d at 477. Despite that error, the grade level issue for 2015-

   2016 was sufficient to find a denial of FAPE imder that lEP, as discussed infra, and at least Dr.

   Ling's expert report was appropriate to consider for 2016-2017 because he completed his report

   in advance of the last proposed lEP for that year. Dr. Lucker's report is also proper evidence in




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   this proceeding because it is only a records review that assesses what Virginia Beach should

   have known and done based on the information available for the last proposed lEP. See Ex.

   15.001-002 (listing records reviewed). Furthermore, the Hearing Officer's view of these experts

   continues a clear theme throughoutthe record: M.N. needed different services than what Virginia

   Beach offered for now. The Hearing Officer stated that M.N. should be able to handle public

   school after some time at CBA as long as she suffered no setbacks there. Decision at 28. This

   finding expresses that the chief concern was that Virginia Beach did not propose adequate

   remedies in any lEP for the setback that M.N. suffered at Red Mill, and accordingly, that M.N.'s

   experts were credible in their assessment that the lEPs failed to offer FAPE.

          Virginia Beach's arguments against these findings largely amount to preferring their own

   experts over M.N.'s experts. It extensively reviews Dr. Phillips's testimony regarding the lEP

   without addressing that the Hearing Officer found him credible but misled by his staffs

   unreliable data. Doc. 55 at 28-30. It also cites two (2) other Virginia Beach witnesses in

   support of the adequacy of its lEP without addressing the issue of implicit credibility findings.

   Id at 30. It offers no persuasive analysis as to why the Court should accept either of the two (2)

   other witnesses' testimony.        id Ms. Vasely's testimony about class size is an admissible

   opinion in opposition to the other witnesses, but the Hearing Officer found the other witnesses

   more credible.       id Speech/language pathologist Michelle Galvin's ("Galvin's") testimony

   that M.N. could be heard in large classrooms was similarly admissible but contradicted both

   other testimony in the record and other sources of evidence discussed infra under the alleged

   procedural violations.        id; see also supra Part III.A.iii. Failure to accept Virginia Beach's

   witnesses testimony, without more, is no basis for reversal of a Hearing Officer's credibility




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   findings. Z.P.. 399 F.3d at 307 (citing Malone, 762 F.2d at 1217). Thus, Virginia Beach has

   provided no persuasive ground for the Court to reject the Hearing Officer's finding.

          Further evidence in the record as to Dr. Ling's and Dr. Lucker's testimony also supports

   the Hearing Officer's findings. Dr. Ling testified that the June 9, 2016 lEP failed to identify

   "what specific intervention would be applied or provided to [M.N.] which can address

   the ... processing demands and the limitations that she has." Tr. at 62:18-21. He also testified

   that some interventions can be implemented in a public school, while others cannot, and that

   Virginia Beach's data and the last proposed lEP for 2016-2017 indicated that Virginia Beach did

   not know what interventions to apply. Id at 73:19-74:4. He also specified that a key issue is

   Virginia Beach's reliance on its own capabilities:

          "[W]hat I understand is the opinion of Virginia Beach in saying that some of the
          interventions that are necessary would be implemented through teachers, but
          there's no identification within the IE? of what interventions would be applied
          under the circumstances. And, therefore, the fit between what interventions are
          being presented and that between her capacities and what her needs are is not
          clear through the course of this lEP.

   Id. at 63:2-9. He emphasized on cross-examination from Virginia Beach's counsel that he has

   participated in drafting lEPs that carry the level of specificity he believes is necessary. Id. at

   80:3-18. Similarly, Dr. Lucker testified that the audiology goals were too vague and that several

   interventions were necessary. Id at 211:5-214:13, 217:6-221:6. Perhaps the Hearing Officer's

   summary of their testimony was misguided because she emphasized the need for smaller

   classrooms, and neither witness seemed to focus on that issue, as Virginia Beach rightly argues.

   Dr. Ling observed in response to the Hearing Officer's questions that smaller classrooms on their

   own would be insufficient to address M.N.'s needs.       Id, at 75:12-20. Despite that possible

   analytical error by the Hearing Officer, testimony from both witnesses supports the Hearing

   Officer's conclusion that "the final proposed lEP was insufficient to meet [M.N.'s] complex



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   needs ...Decision at 27. Thus, the Court FINDS that the last proposed lEP for 2016-2017

   failed to offer M.N. a FAPE because less detailed lEPs had not worked for M.N.'s complex

   needs, because Virginia Beach had the necessary information to address M.N.'s audiological

   disorders in detail in time for the lEP for 2016-2017, and because Virginia Beach failed to add

   that necessary level of detail.^
                                        HI       Provision ofFAPE by CBA

            As noted supra. Virginia Beach does not challenge this issue in its briefs beyond the

   procedural violation, but it raised a substantive challenge in other documents in this case and

   appears to have intended such a challenge here. Compare VB Counterclaim HI 56(r), (t) with

   Doc. 55 at 24. The Court also must find the provision of FAPE at CBA in order to grant M.N.

   reimbursement.            A.K.. 484 F.3d at 679 (quoting A.B.. 354 F.3d at 320). Thus, carefully

   reading the briefs, and in view of the relevant legal standard, the Court will address the substance

   of the question for purposes of entering findings on both of the required elements for

   reimbursement.


            The Hearing Officer's findings support the conclusion that CBA offers FAPE. There are

   seven (7) relevant findings: improved test scores at CBA, flexibility to rearrange scheduled and

   programming, ability to be heard in the classroom, improved social skills, and access to direct

   services for disabilities, a small classroom, and a small school. Decision at 27. While Virginia

   Beach may be correct that improved test scores and a small classroom alone are insufficient to

   support the adequacy of CBA, Virginia Beach does not address the remainder of the relevant

   findings in any of its documents. Instead, it emphasizes that "school population and class size"

   were the key factors in the Hearing Officer's decision. Doc. 66 at 5. This view of the Hearing

   ' This finding does not mean that a very detailed lEP is always necessary for every student. Further detail is
   necessary for the IE? to offer FAPE in this instance because of the particular facts in M.N.'s history with Virginia
   Beach.



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   Officer's decision is based on some of the Hearing Officer's commentary scattered throughout

   the transcript and the decision. Nevertheless, this view also does not relieve Virginia Beach of

   the obligation to address the other findings, no matter how much weight it believes that the

   Hearing Officer attributed to her own findings. The seven (7) findings cumulatively reflect that

   CBA offered specific interventions needed to remedy M.N.'s learning deficiencies from her bad

   year in Virginia Beach schools, and no evidence in the record contradicts those findings. Thus,

   the Court FINDS that CBA offered FAPE to M.N.

                     /v.    Alternative Damages Theory: Compensatory Damages

          M.N. alternatively argues that the Hearing Officer properly awarded compensatory

   education, either for 2016-2017 or for both 2015-2016 and 2016-2017 depending on the brief.

   See Doc. 53 at 11 (making the former argument); Doc. 59 at 20 (making the latter argument).

   Because the Court FOUND that Virginia Beach failed to offer FAPE to M.N. in its respective

   last proposed lEPs for both school years, M.N. is entitled to reimbursement for unilateral private

   placement for both of those years, and the issue of compensatory education is MOOT.

                                           V.      Tutoring Fees

          Although Virginia Beach has the most significant disagreements with the Hearing

   Officer's decision, M.N. also has a disagreement, as she seeks reversal of the Hearing Officer's

   denial of reimbursement for tutoring and social skills groups during 2014-2015. Doc. 53 at 10.

   The Hearing Officer found as follows:

          In regard to the parents' prayer for reimbursement for tutoring and social skills
          training, these tools served to benefit [M.N.] with or without any actions on the
          part of VBCPS. The parents sought these tools to support [M.N.] and to help her
          excel, regardless of the actions of VBCPS. There will be no reimbursement for
          tutoring or social skills training. I FIND that the parents did not meet their burden
          on this issue, therefore relief is denied.




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   Decision at 22. M.N. argues that those fees were necessary to remedy Virginia Beach's failure

   to provide FAPE during that school year. Doc. 53 at 10. She cites Florence Ctv. Sch. Dist. Four

   V. Carter By & Through Carter. 510 U.S. 7 (1993) for the proposition that all appropriate private

   services are reimbursable after denial of FAPE. S^ id; see also id at 8. Virginia Beach does

   not meaningfully oppose this argument beyond its general assertions that M.N. is not entitled to

   any reimbursement. See generallv Docs. 55, 66.

          M.N.'s argument is problematic because she seeks a highly unusual remedy, and an

   award of tutoring fees would overcompensate her in addition to the other awards in this case.

   Florence stands for the proposition that a court who finds a violation of IDEA "is authorized to

   'grant such relief as the court determines is appropriate." Florence. 510 U.S. at 15-16 (quoting

   20 U.S.C. § 1415(e)(2) (currently codified at § 1415(i)(2)(C)(iii))). It further cautions that a

   court must consider the "appropriate and reasonable" level of reimbursement and may even deny

   full reimbursement for tuition if it finds such expenses unreasonable. Id at 16. M.N. cites no

   case law, nor has the Court found any, where a court reimbursed tutoring services during the

   school year, as opposed to reimbursing unilateral private school placement. Furthermore, the

   Court already FOUND that CBA offered the required remediation, and it is not at all clear that

   the tutoring was necessary or even helpful given M.N.'s poor academic performance during

   2014-2015. Thus, the Court FINDS that M.N. is not entitled to reimbursement for tutoring and

   social skills training and DENIES such reimbursement.

   C.     Whether M.N. is Entitled to Attorney's Fees

          Neither Party disputes that the Court has discretion to award attorney's fees to M.N. if

   she is the prevailing party. S^ Doc. 53 at 11; Doc. 55 at 31. The IDEA provides that "the court,

   in its discretion, may award reasonable attorneys' fees as part of the costs" to her parents. 20




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   U.S.C. § 1415(i)(3)(B)(i). Because M.N. is suing by and through her parents, any award of fees

   is inevitably payable to them. Based on its decisions in M.N.'s favor, the Court FINDS that

   M.N. is the prevailing party and GRANTS attorney's fees. M.N. must file her Motion for

   Attorneys' Fees with appropriate supporting evidence. Virginia Beach will have ten (10) days

   from receipt of the Motion for Attorneys' Fees to respond with appropriate supporting evidence.

                                        IV.    CONCLUSION

          For the reasons stated herein, the Court AFFIRMS the decision of the Hearing Officer

   and FINDS as follows:


          •      that Virginia Beach materially failed to implement the 2014-2015 lEP such that it

                 denied a free appropriate public education ("FAPE") to M.N.;

          •      that Virginia Beach failed to offer M.N. a FAPE for 2015-2016 because it sought

                 to place her in an academic program beyond her abilities, namely, sixth grade;

          •      that the last proposed lEP for 2016-2017 failed to offer M.N. a FAPE because

                 less detailed lEPs had not worked for M.N.'s complex needs, because Virginia

                 Beach had the necessary information to address M.N.'s audiological disorders in

                 detail in time for the lEP for 2016-2017, and because Virginia Beach failed to

                 add that necessary level of detail;

          •      that Chesapeake Bay Academy ("CBA") offered FAPE to M.N.; and

          •      that M.N. is not entitled to reimbursement for tutoring and social skills training.

   In accordance, with those findings, the Court GRANTS Plaintiffs/Counter-Defendant's Motion

   for Summary Judgment, Doc. 52, IN PART, entering judgment in favor of Plaintiff/Counter-

   Defendant for reimbursement for tuition at Chesapeake Bay Academy for 2015-2016 and 2016-

   2017, and GRANTS Defendant's/Counter-Plaintiffs Cross-Motion for Summary Judgment,



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   Doc. 54, IN PART, denying reimbursement for tutoring and social skills training. The Court

   also GRANTS attorneys' fees by M.N., pending filing of an appropriate motion. Virginia Beach

   must respond to any motion for attorneys' fees within ten (10) days of receipt of the motion.

           The Court further ORDERS that the stay-put will last through final resolution of this

   case.



           The Clerk is DIRECTED to enter judgment in favor of Plaintiff/Counter-Defendant

   M.N. for reimbursement for tuition at Chesapeake Bay Academy for 2015-2016 and 2016-2017.

   If the Parties cannot agree on this amount, they shall brief their positions simultaneously with

   their attorneys' fees briefings.

           The Clerk is REQUESTED to send a copy of this Order to all counsel of record.

           It is so ORDERED.

                                                       Henry Coke Morgan, Jr.
                                                       Senior United States District Judge
                                                          HENRY COKE MORGAN, JR.
                                                SENIOR UNITED STATES DISTRICT JUDGE


   Norfolk, VA
   February ^       , 2018




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